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                                                                                   COURT OF COMMON PLEAS

                                                                                        NOV 2 7 2024
                                                                                   JILL FANKHAUSER, Clerk
                                                                                    PORTAGE COUNTY, OH




                            IN THE COURT OF COMMON PLEAS
                                 PORTAGE COUNTY, OHIO


TULIPSLLC                                            CASE NO.
                                                               2024CV0-0920
6188 Marteney Ave.
Kent, OH 44240
                                                                     JUDGE BECKY L. DOHERTY
                                                     JUDGE

       Plaintiff,                                    COMPLAINT FOR DECLARATORY
                                                     JUDGMENT, BREACH OF
                                                     CONTRACT AND BAD FAITH
v.
                                                     (WITH JURY DEMAND ENDORSED
AUTO-OWNERS MUTUAL INSURANCE                         HEREON)
COMPANY
6101 Anacapri Blvd.
Lansing, MI 48917

       Defendant.



       Plaintiff Tulips LLC ("Tulips" or "Plaintiff') states as follows for its complaint against

Defendant Auto-Owners Mutual Insurance Company ("Auto-Owners" or "Defendant").

                                           PARTIES

       1.      Tulips is a single member Ohio Limited Liability Company located in Kent, Ohio.

       2.      Auto-Owners is a Michigan corporation with its principal place of business in

Lansing, Michigan.

                                JURISDICTION AND VENUE

       3.      This Court has jurisdiction over this action p�suant to Ohio R.C. 2305.01 et seq.

       4.      Venue in this Court is proper pursuant to Ohio Civ. R. 3(C)(3, 5-7) because Portage

County is where the Defendant conducted activity giving rise to this lawsuit, it is the location of



                                                                                        Exhibit A
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the real property that Defendant insured and which is the subject of Plaintiffs Complaint, and it is

the location where all or part of the claim for relief arose.

                                   FACTUAL ALLEGATIONS

                                    The Water Street Building

        5.      Tulips owns a commercial building located at 162 N Water Street, Kent, Ohio ("the

Water Street Building"). The Water Street Building is a historical mill that Tulips purchased in

2019 for redevelopment purposes as part of its business operations.

        6.      Tulips engaged in significant work toward redevelopment of the Water Street

Building including, but not limited to, working with state and local entities such as Kent State

University, several well-known restaurant and other business developers and other potential

tenants who had interest in the redevelopment of the W8;ter Street Building for their use,

conducting a preliminary structural analysis, a code study, and commissioning a redevelopment

master plan by a local architectural firm. Numerous, significant meetings and tours of the Water

Street Building were conducted with potential tenants and their consultants for this purpose.

        7.     In furtherance of these efforts, Tulips did certain work at the Water Street Building

at relevant times, including equipment removal, small repairs including on the roof and other

similar types of small projects. Upon inquiry, the city advised Tulips that the work Tulips

conducted did not require building permits.

        8.     Tulips also used the Water Street Building since the time ofits ownership as a field

office for its construction team that was actively engaged in work on a different property owned

by Tulips' affiliate located on Franklin Street in Kent.

       9.      Tulips supplied the Water Street Building with internet service and certain utilities

including gas and electric at relevant times.




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        10.    On December 2, 2022, a fire broke out at the Water Street Building causmg

significant damage and loss exceeding $1,000,000.

                                        The Insurance Policy

        11.    Tulips had purchased insurance for the Water Street Building from Auto-Owners

including the policy at issue here, policy number 05475533 for the period February 27, 2022

through February 27, 2023 (the "Policy"). A true and accurate copy of the Policy is attached at

Exhibit 1.

        12.    The Policy provides Builders' Risk-Rehabilitation/Renovation insurance with

"Existing Building Limits" in the amount of $405,000.

       13.     The Policy provides:

               We cover direct physical loss or damage caused by a covered peril to ...
               'existing buildings' that are part of your 'rehabilitation or renovation
               project'.

       14.     "Existing building" is defined in the policy in relevant part as:

               [A] structure or building constructed and standing prior to the inception of
               this policy and that will undergo renovation or rehabilitation as part of your
               'rehabilitation or renovation project.'

       15.     "Rehabilitation or renovation project" is defined as:

               a project, described in the Declarations, involving the construction,
               rehabilitation or renovation of a structure or building.

       16.     The Policy contains a "Vacant Building Limitation" which limits

coverage for vacant "existing buildings":

              We only cover a vacant "existing building" for 60 consecutive days from the
              inception date of this policy unless:

               a.      Building permits have been obtained; and

               b.      Rehabilitation or renovation work has begun on the "existing
                       building."


       17.    The Policy does not define the term "vacant." "Vacant" is commonly defined as:



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               "not occupied by an incumbent, possessor or officer"

               "being without content or occupant"

               "free from activity or work"

               "not lived in"

               "not put to use"

Merriam-Webster. com            Dictionary,          Merriam-Webster,       https://www.merriam-

webster.com/dictionary/vacant (last visited April 30, 2024).

       18.     Ample evidence was submitted to Auto-Owners demonstrating that the building

was not "vacant" at all, but rather was "put to use" since its purchase and coverage inception.

                                       The Coverage Claim

       19.     Tulips timely reported the claim and received a reservation of rights dated

December 12, 2022 in which Auto-Owners advised Tulips that based on a recorded interview

taken on the day of the fire, because no active renovation or rehabilitation had commenced and no

permits had been obtained for repairs, "the building at 162 N. Water St., Kent, Ohio may be

considered vacant" and pursuant to the Vacant Building Limitation the damage from the fire may

be excluded.

       20.     Pursuant to the Policy, Auto-Owners required Tulips to submit a Proof of Loss,

which it did despite Auto-Owners' refusal to extend the deadline, showing in excess of $1,000,000

in damage.

       21.     Subsequently, Tulips responded to additional, numerous requests from Auto-

Owners for significant information on March 31, 2023.




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       22.     On April 13, 2023, Auto-Owners "rejected" the Proof of Loss as submitted and

requested to conduct an Examination Under Oath ("EUO") of the insured to address "additional

questions that [Auto-Owners] needs answered regarding the property and its use ... "

       23.     The EUO took place on May 18, 2023. On June 15, 2023, Auto-Owners requested

even more documents and information including operating and corporate documents, documents

authorizing Tulips representative, Shahab Salehi to act on behalf of Tulips, documents related to

an insurance claim for re bar or stored materials, an inventory of personal property in the building,

the written contract with Sill Public Adjusting who performed the analysis for the Proof of Loss,

leases with contractors, receipts, documents or invoices for any work done from the date of

acquisition through fall, 2022 and photos from the acquisition through November 2022.

       24.     After over six months and significant investment of Tulips' time and money, on

June 29, 2023 Auto-Owners denied the claim based solely on the "Vacant Building" limitation.

Although Auto-Owners admitted there was at least "transient usage" of the building, it denied

coverage because (1) no building permits had been obtained, and (2) renovation had not yet

commenced. Auto-Owners stated: "The information submitted by the insured and the language of

the proof ofloss indicates at best transient usage of the insured premises. No building permits were

obtained for any work for the loss location and rehabilitation, or renovation work had not begun

on the building. Furthermore, there was no certificate of occupancy for the structure, no lease

agreement for the transient usage,. no water consumption nor sufficient equipment for business

operations to exist at the insured premises."

       25.     On June 11, 2024, Tulips requested that Auto-Owners reverse its decision because

it was premised on the "vacant building" limitation which does not apply. The Water Street

Building was not "vacant" as plainly defined, but rather was used continuously as demonstrated




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through the significant facts and documents already provided to Auto-Owners. Tulips also

provided additional requested documentation showing its "use" of the Water Street Building in

effort to resolve the claim.

       26.      On November 5, 2024, Auto-Owners again denied Tulips' claim relying on a near

verbatim reasoning based on the "vacant building" limitation set forth in its December 12, 2022

letter. Auto-Owners' November 5, 2024 denial then adds that despite its admission of some "use"

of the building, "[w]e feel this building is deemed to have been vacant at the time of the loss based

on our review of the policy language and information submitted. Therefore, there is no coverage

for this claim based on the policy language above."

                                             COUNT I
                                     (Declaratory Judgment)

       2 7.    Plaintiff incorporates the allegation in paragraphs 1 through 26 above as if fully

rewritten herein.

       28.     Plaintiff brings this Declaratory Judgment Action pursuant to O.R.C. 2721.01 to

2721.15, and Rule 57 of the Ohio Rules of Civil Procedure.

       29.     An actual and justiciable controversy exists between Plaintiff and Defendant

concerning Defendant's contractual duty to indemnify in full up to policy limits Plaintiff for

damage caused by the fire at the Water Street Building.

       30.     The controversy is ripe for judicial review and is of sufficient immediacy and

magnitude to justify the issuance of declaratory relief by this Court.

       31.     Plaintiff accordingly seeks a declaration from the Court that:

               a. Plaintiff's claim for loss to the Water Street Building caused by the fire is

                    covered loss;




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                b. No exclusion or limitation applies to preclude or limit coverage for Plaintiffs

                    claim;

               c. Plaintiff has satisfied or has been excused from satisfying, or Auto-Owners has

                    waived or is estopped from enforcing, all conditions precedent under the Policy;

               d. Auto-Owners is contractually obligated under the Policy to indemnify Plaintiff

                    for the damage suffered as a result of the fire at the Water Street Building up to

                    Policy limits.

                                            COUNT II
                                       (Breach of Contract)

        32.    Plaintiff incorporates the allegation in paragraphs 1 through 31 above as if fully

rewritten herein.

        33.    Under the contract of insurance described above, Defendant was obligated to pay

Plaintiffs up to $405,000 to cover the damage to the Water Street Building caused by the fire on

December 2, 2022.

       34.     Plaintiff submitted a timely POL establishing damages incurred in excess of

$1,000,000.

       35.     Defendant breached its contract of insurance with Plaintiffs by failing to timely,

fully, and appropriately compensate Plaintiff for its loss.

       36.     Defendant's breach of contract has resulted in damages to Plaintiffs totaling

$405,000 (policy limits) and forced Plaintiff to incur fees and costs in this action in order to secure

the benefits owed to them under the Policy.




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                                         COUNT III
                       (Breach of Duty of Good Faith and Fair Dealing)

        37.    Plaintiff incorporate the allegations in paragraphs 1 through 36 above as if fully

rewritten herein.

        38.    Auto-Owners has a duty to handle, investigate and make timely determinations and

payments of Plaintiffs claim in good faith in connection with the Policy issued by it.

        39.    Auto-Owners has breached its duty of good faith and fair dealing by, among other

things, unreasonably and without justification in law or fact: (a) refusing to pay for the damages

occurring as a result of the fire; (b) denying the claim based solely on the "vacant building

limitation" relying on its own, overly narrow construction of the undefined term "vacant" in order

to avoid coverage rather than find coverage; (c) ignoring and/or rejecting facts and documentation

showing that the Water Street Building had been continuously put to ''use" solely to avoid

coverage; (d) unnecessarily requiring Tulips to produce voluminous documentation over an

extended six month investigation regarding facts that were wholly irrelevant in light of Auto-

Owners' denial based solely on the "vacant building" limitation as enunciated in its December 12,

2022 letter.

        40.    Auto-Owners has acted toward Plaintiff with conscious disregard of its rights, and

with the intent to vex, injure and annoy it so as to constitute oppression, fraud or malice in breach

of its duty of good faith and its fiduciary duty to Plaintiff, justifying punitive damages and

exemplary damages in an amount sufficient to punish and make an example.

       41.     As a result, Plaintiff has been prejudiced in the timely and proper repair of the

damage to the Water Street Building resulting from the fire, deprived of the benefits to which they

were entitled under the Policy, were forced to expend resources responding to Auto-Owners'




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demands for significant information that it did not consider and incur fees and costs in this action

to enforce the benefits owed to them under the Policy.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for judgment awarding it:

(1)     A declaratory judgment in favor of Plaintiff and against Auto-Owners declaring that:

        a) Plaintiff's claim is a covered loss;

        b) No exclusion applies to preclude or limit coverage for Plaintiffs claim;

        c) Plaintiff has satisfied or has been excused from satisfying, or Auto-Owners has waived

            or is estopped from enforcing, all conditions precedent under the Policy;

        d) Auto-Owners is contractually obligated under the Policy to indemnify Plaintiff for the

            loss up to Policy limits.

(2)     A judicial determination that Auto-Owners has breached the terms of the Policy by failing

        to indemnify Plaintiff for the loss and awarding Plaintiff compensatory damages in an

        amount in excess of $25,000 to be proven at trial;

(3)     A judicial determination that Auto-Owners has breached its duty of good faith and fair

        dealing and an award of all damages flowing therefrom;

(4)     Consequential and punitive damages as allowed by law;

( 5)    Plaintiff's attorneys' fees and costs incurred in connection with this suit;

(6)     Pre-judgment and post-judgment interest as allowed by law; and




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(7)     Such other and further relief as this Court finds just and proper.

DATED: November 27, 2024                              Respectfully submitted,

                                                            .i�
                                                      Ja n Whitacre (0077330)
                                                       y YNN, KEITH & FLYNN, LLC
                                                        14 S. Water Street
                                                      P.O. Box 762
                                                      Kent, OH 44240
                                                      (330) 673-0114 (office)
                                                      (330) 617-4278 (fax)
                                                      jwhitacre@flynnkeithlaw.com



                                                      Jodi D. Spencer (0074139)
                                                      J SPENCER LAW LLC
                                                       12606 Lake Shore Blvd.
                                                      Bratenahl, Ohio 44108
                                                      (216) 284-4080 (office)
                                                      jodi@jspencerlaw.com

                                                       Counsel for Plaintiff




                                                 IO
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                                  JURY TRIAL DEMANDED

      Plaintiffs request a trial by jury on all issues so triable.

DATED: November 27, 2024                               Respectfully submitted,


                                                       J s n Whitacre (0077330)
                                                               , KEITH & FLYNN, LLC
                                                       214 S. Water Street
                                                       P.O. Box 762
                                                       Kent, OH 44240
                                                       (330) 673-0114 (office)
                                                       (330) 617-4278 (fax)
                                                       jwhitacre@flynnkeithlaw.com



                                                       Jodi D. Spencer (0074139)
                                                       J SPENCER LAW LLC
                                                        12606 Lake Shore Blvd.
                                                       Bratenahl, Ohio 44108
                                                       (216) 284-4080 (office)
                                                       jodi@jspencerlaw.com

                                                       Counsel for Plaintiff




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                                                                                                                 59511 (10-19)



        03-0346-00
        BRIMFIELD INSURANCE AGENCY INC
        1204 TALLMADGE RD
        KENT OH 44240-6456                                           .Auto-Owner&
                                                                             INSURANCE
                                                                         LIFE• HOME• CAR • BUSINESS


                                                                      PO Box 30660 • Lansing, Ml 48909-8160
                                                                                  517.323.1200

        01-12-2022                                                      Auto-Owners Insurance Company



                                                              You can view your policy, pay your bill, or change your
                                                              paperless options at any time on line at www.auto-owners.com.

                                                                        ADDITIONAL WAYS TO PAY YOUR BILL

                                                                     Pay Online
                                                                 www.auto-owners.com              Pay by Mail
                                                                     Pay My Bill          AUTO-OWNERS INSURANCE
       TULIPS LLC                                                                               PO BOX 740312
       PO BOX 955                                                      Pay by Phone       CINCINNATI, OH 45274-0312
       KENT OH 44240-0019                                            1-800-288-87 40



                                                              Your agency's phone number is 330-673-4919.




RE: Policy 206003-05475533-22            Billing Account 018181680

Thank you for selecting Auto-Owners Insurance Group to serve your insurance needs! Feel free to contact your
independent Auto-Owners agent with questions you may have.

Auto-Owners and its affiliate companies offer a full complement of policies, each of which has its own eligibility
requirements, coverages and rates. In addition, Auto-Owners also offers many billing options. Please take this
opportunity to review your insurance needs with your Auto-Owners agent, and discuss which company, program, and
billing option may be most appropriate for you.

Auto-Owners Insurance Company was formed in 1916. Our A++ (Superior) rating by A.M. Best Company signifies that we
have the financial strength to provide the insurance protection you need. The Auto-Owners Insurance Group is comprised
of six property and casualty companies and a life insurance company.




                              Serving Our Policyholders and Agents Since 1916                              EXHIBIT

                                                                                                              J...
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Agency Code       03-0346-00                                                                   Policy Number    206003-05475533



                                                                                                                  59325 (12-19)



                                    NOTICE OF PRIVACY PRACTICES

What We Do To Protect Your Privacy
At Auto-Owners Insurance Group*, we value your business and we want to retain your trust. In the course of providing
products and services, we may obtain nonpublic personal information about you. We assure you that such information is
used only for the purpose of providing our products and services to you:

Protecting Confidentiality
Our agents and Company associates may have access to nonpublic personal information only for the purpose of
providing our products or services to you. We maintain physical, electronic and procedural safeguards against
unauthorized use of your nonpublic personal information.

Information We Obtain
To assist in underwriting and servicing your policy, we may obtain nonpublic personal information about you. For
example, we routinely obtain information through applications, forms related to our products or services, from visiting
www.auto-owners.com, and your transactions with us. We may obtain such information from our affiliates, independent
insurance agents. governmental agencies, third parties, or consumer reporting agencies.

The type of information that we collect depends on the product or service requested, but may include your name,
address, contact information, social security number, credit history, claims history, information to properly investigate and
resolve any claims, or billing information. We may obtain your medical history with your permission. The nature and
extent of the information we obtain varies based on the nature of the products and services you receive.

The Internet and Your Information
If you would like to learn about how we gather and protect your information over the Internet, please see our online
privacy statement at www.auto-owners.com/privacy.

Generally, Auto-Owners may use cookies, analytics, and other technologies to help us provide users with better service
and a more customized web experience. Our business partners may use tracking services, analytics, and other
technologies to monitor visits to www.auto-owners.com. The website may use web beacons in addition to cookies. You
may choose to not accept cookies by changing the settings in your web browser.

Information obtained on our websites may include IP address, browser and platform types, domain names, access times,
referral data, and your activity while using our site; who should use our web site; the security of information over the
Internet; and links and co-branded sites.

Limited Disclosure
Auto-Owners Insurance Group companies do not disclose any nonpublic personal information about their customers or
former customers except as permitted by law. We do not sell your personal information to anyone. We do not offer an
opportunity for you to prevent or "opt out of' information sharing since we only share personal information with others as
allowed by law.

When sharing information with third parties to help us conduct our business, we require them to protect your personal
information. We do not permit them to use or share your personal information for any purpose other than the work they
are doing on our behalf or as required by law.


59325 (12-19)                                                                                                       Page 1 of 2
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Agency Code       03-0346-00                                                                  Policy Number    206003-05475533

The types of information disclosed may include personal information we collect as necessary to service your policy or
account, investigate and pay claims, comply with state and federal regulatory requests or demands, and process other
transactions that you request. Third parties that receive disclosures may include your independent agent, regulators,
reinsurance companies, fraud prevention agencies, or insurance adjusters.

How Long We Retain Your Information
We generally retain your information as long as reasonably necessary to provide you services or to comply with
applicable law and in accordance with our document retention policy. We may retain copies of information about you and
any transactions or services you have used for a period of time that is consistent with applicable law, applicable statute of
limitations or as we believe is reasonably necessary to comply with applicable law, regulation, legal process or
governmental request, to detect or prevent fraud, to collect fees owed, to resolve disputes, to address problems with our
services, to assist with investigations, to enforce other applicable agreements or policies or to take any other actions
consistent with applicable law.

In some circumstances we may anonymize your personal information (so that it can no longer be associated with you) for
research or statistical purposes, in which case we may use this information indefinitely without further notice to you. This
allows the specific information collected (name, email, address, phone number, etc.) to become anonymous, but allows
Auto-Owners to keep the transaction or engagement data.

Changes to the Privacy Policy
We will provide a notice of our privacy policy as required by law. This policy may change from time to time, but you can
always review our current policy by visiting our website at www.auto-owners.com/privacy or by contacting us.

Contact Us
Auto-Owners Insurance Company
Phone: 844-359-4595 (toll free)
Email: privacyrequest@aoins.com

*Auto-Owners Insurance Group includes, Auto-Owners Insurance Company, Auto-Owners Life Insurance Company,
 Home-Owners Insurance Company, Owners Insurance Company, Property-Owners Insurance Company and
 Southern-Owners Insurance Company.




59325 (12-19)                                                                                                       Page 2 of 2
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Agency Code       03-0346-00                                                                     Policy Number    206003-05475533


                                                                                                                     59390 (11-20)



                                NOTIFICATION OF POSSIBLE CHANGES
                                   IN COVERAGE FOR TERRORISM

Dear Policyholder:

The Terrorism Risk Insurance Act (including ensuing Congressional actions pursuant to the Act) will expire on December
31, 2027 unless the Federal government extends the Act. What this means to you is the following:

1.   Subject to policy terms and conditions, the enclosed policy will provide insurance coverage for certified acts ofter-
     rorism as defined in the Act only until December 31, 2027.

2.   A conditional endorsement entitled, Conditional Exclusion Of Terrorism Involving Nuclear, Biological Or Chemical
     Terrorism (Relating To Disposition Of Federal Terrorism Risk Insurance Act) is enclosed. This conditional endorse-
     ment will only apply if the Act is not extended or if the Act is revised to increase statutory deductibles, decrease the
     federal government's share in potential losses above the statutory deductibles, change the levels, terms or conditions
     of coverage and we are no longer required to make terrorism coverage available and elect not to do so. It will not
     apply if the Act is simply extended.

3.   The conditional endorsement will provide coverage for an incident of terrorism pursuant to the terms and conditions of
     the policy only if the incident does not involve nuclear, biological or chemical material.

4.   A premium charge for the conditional endorsement will be applied effective January 1, 2028. The premium will be pro
     rated for the remainder of the policy term and is one-half of the current premium charge appearing in the Declara-
     tions for TERRORISM - CERTIFIED ACTS. However, it will only be made if the Terrorism Risk Insurance Act (includ-
     ing ensuing Congressional actions pursuant to the Act) is not extend. Revised Declarations will be mailed to you after
     January 1, 2028.

5.   If the Act is extended without any revision, the enclosed policy will continue to provide coverage for certified acts of
     terrorism. The conditional endorsement will not be activated and the changes in coverage or premium referenced
     above will not apply.

6.   If the Act is extended with revisions or is replaced, and we are required or elect to continue to offer coverage for certi-
     fied acts of terrorism, we may amend this policy in accordance with the provisions of the revised Act or its replace-
     ment.

This notice is for informational purposes only.

If you have any questions concerning your policy or this notice, please contact your Auto-Owners agency.




59390 (11-20)                                                                                                          Page 1 of 1
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             Tailored Protection
              Insurance Policy




                    .Auto-Owners (Mutual) Insurance Company
               Case: 5:24-cv-02231-JRA Doc #: 1-1 Filed: 12/23/24 17 of 41. PageID #: 21
                                             POLICY NON-ASSESSABLE
This policy is non-assessable and the premium stated in the Declarations is the only premium you will be asked to pay.


                                                        PARTICIPATING
You will be entitled to an equitable participation in Company funds in excess of the amount required to pay expenses and
all the losses or claims or other policy obligations incurred, together with the reserve and surplus funds required or
permitted by law. A distribution will be made only in accordance with the decision of our Board of Directors acting under
the insurance laws and under our charter.


                                   NOTICE OF MEMBERSHIP AND ANNUAL MEETING
Because we are a mutual company, this policy makes you a member of the Auto-Owners (Mutual) Insurance Company.
You are entitled to vote, in person or by proxy, at all meetings. Our annual policyholder's meetings are held at our home
office at Lansing, Michigan on the second Monday in May in each year at 10:00 A.M.


In witness whereof, we, the Auto-Owners (Mutual) Insurance Company, have caused this policy to be issued and to be
duly signed by our President and Secretary.




                           Secretary                                                 President




55001 (7-12)
              Case: 5:24-cv-02231-JRA Doc #: 1-1 Filed: 12/23/24 18 of 41. PageID #: 22

.Auto-Owners                                                            Page    1
                                                                                                                                                            Issued     01-12-2022

MUTUAL INSURANCE COMPANY                                                                    TAILORED PROTECTION POLICY DECLARATIONS
6101 ANACAPRI BLVD., LANSING, Ml 48917-3999
AGENCY    BRIMFIELD INSURANCE AGENCY INC                                                                                               Renewal Effective               02-27-2022
          03-0346-00         MKT TERR 110                       330-673-4919
                                                                                                    POLICY NUMBER                                           206003-05475533-22
INSURED   TULIPS LLC                                                                                Company Use                                                  05-60-0H-2002

                                                                                                   Company                                     Policy Term
ADDRESS   PO BOX 955                                                                                 Bill                              12:01 a.m.       12:01 a.m.
                                                                                                                                                   to
          KENT OH 44240-0019                                                                                                          02-27-2022        02-27-2023
In consideration of payment of the premium shown below, this policy is renewed. Please attach this Declarations and attachments to your policy. If you
have any questions. please consult with your agent.
                                                                                                                                                                     55039 (11-87)
                                                                                                        ..                   ·,,· •· .:.··:.�'..·.�·:. '.
                                                                                                             :�·:y;.. ,·:::�· .
                                                                                                       :•!'"                             .-

Business Description:          Builders Risk

Entity:        Limited Liab Corp

  THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PART(S):                                                                                                            PREMIUM
  COMMERCIAL INLAND MARINE COVERAGE                                                                                                                                  $2,632.00

                                                                                                        TOTAL                                                        $2,632.00

                                                                                    PAID IN FULL DISCOUNT                                                             $254.00

                                                            TOTAL POLICY PREMIUM IF PAID IN FULL                                                                     $2,378.00

  THIS PREMIUM MAY BE SUBJECT TO ADJUSTMENT.
  The Paid in Full Discount does not apply to fixed fees, statutory charges or minimum premiums.


Forms that apply to all coverage part(s) shown above (except garage liability, dealer's blanket. commercial automobile, if applicable):
55001      (07-12)           59390       (11-20)

A merit rating plan factor of 0.95 applies.

Countersigned By: COMPANY ISSUED
             Case: 5:24-cv-02231-JRA Doc #: 1-1 Filed: 12/23/24 19 of 41. PageID #: 23

                                                                Page    2
Auto-Owners Ins. Co.                                                                                                                              Issued      01-12-2022
AGENCY    BRIMFIELD INSURANCE AGENCY INC                                                Company                 POLICY NUMBER                     206003-05475533·22
          03-0346-00         MKT TERR 110                                                 Bill                                                         05-60-0H-2002
INSURED   TULIPS LLC                                                                                                             Term 02-27-2022           to 02-27-2023




                                                                                                                                                            16198 (07-87)



COVERAGES PROVIDED

Insurance applies to covered property for which a limit of insurance is shown.


Forms that apply to Inland Marine:
59350      (01-15)          16381    (07-08)         16080      (07-13)                16203                (06-88)                      16211      (06-88)
59325      (12-19)          16859    (07-19)         59390      (11-20)


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                                                                                                                ,.•,.' .. I.   l,.j,;·

                                                                                                                   '

Location: 162 N Water St, Kent, OH 44240-2419

Rating Information for COMMERCIAL INLAND MARINE
Territory: 670                                                          County: Portage
Construction: Non-Comb                                                  Protection Class: 002
Class Code: 1153                                                        Class Rated
Group I: 0.0520                                                         Group II: · 0.3030
* The deductible (DED) which applies to each coverage indicated below is the same as the deductible which applies to each
  location and sublocation shown on the Commercial Inland Marine Coverage Declarations, unless otherwise indicated. A single
  deductible applies per claim. If more than one item is involved in a claim, the single highest applicable deductible amount is
  used.

** See Form for details
                  COVERAGE                          COINSURANCE         DEDUCTIBLE                                     LIMIT                RATE            PREMIUM
COMMERCIAL INLAND MARINE
 BUILDERS'
 RISK-REHABILITATION/RENOVATION
     Building Materials - Replacement Cost                     100%                      $5,000                          $605,000                0.258         $1,561.00
     Existing Building Limit - Stated Value                    100%                      $5,000                          $405,000                0.258         $1,045.00
     Catastrophe Limit                                         100%                      $5,000                        $1,040,000
  Coverage Extensions:
      Debris Removal                                                                                  *                         25% **                           Included
      Additional Debris Removal                                                                       *                        $10,000                           Included
      Limited Fungi Coverage                                                                          *                        $15,000                           Included
    Supplemental Coverages:
    Expediting Expenses                                                                               *                        $10,000                          Included
    Pollutant Cleanup And Removal                                                                     *                        $10,000                          Included
    Temporary Storage Locations                                                                       *                        $10,000                          Included
    Transit                                                                                           *                        $10,000                          Included
TOTAL FOR THIS COVERAGE:                                                                                                                                       $2,606.00


Forms that apply to this location:
16691      (07-14)
             Case: 5:24-cv-02231-JRA Doc #: 1-1 Filed: 12/23/24 20 of 41. PageID #: 24

                                                                Page    3
Auto-Owners Ins. Co.                                                                                               Issued      01-12-2022
AGENCY    BRIMFIELD INSURANCE AGENCY INC                                         Company      POLICY NUMBER         206003-05475533-22
          03-0346-00         MKT TERR 110                                          Bill                                  05-60-0H-2002
INSURED   TULIPS LLC                                                                                 Term 02-27-2022        to 02-27-2023




COMMERCIAL INLAND MARINE COVERAGE - LOCATION 0001 SUMMARY                                                                    PREMIUM
TERRORISM - CERTIFIED ACTS           SEE FORM: 59350, 16381, 59390                                                                 $26.00
                                                                                             LOCATION 0001                      $2,632.00
A single deductible applies per claim. If more than one item is involved in a claim, the single highest applicable deductible amount
is used.

                                                                                                                             PREMIUM

                                                                               BUILDERS' RISK SUBTOTAL                          $2,606.00
                                                                 BUILDERS' RISK BALANCE TO MINIMUM                                     $0.00
               Case: 5:24-cv-02231-JRA Doc #: 1-1 Filed: 12/23/24 21 of 41. PageID #: 25
Agency Code      03-0346-00                                                                        Policy Number   206003-05475533


                                                                                                                      16211 (6-88)



                                   OHIO AMENDATORY ENDORSEMENT
                                 INLAND MARINE TPP COVERAGE PART

We agree:

Under Common Policy Conditions, Cancellation, the following is added:

If the policy has been in effect for 90 days we will cancel only for any of the following reasons:

    1.    Nonpayment of premium;

    2.    Discovery of fraud or material misrepresentation in the procurement of the insurance or with respect to any claims
          submitted thereunder;

    3.    Discovery of a moral hazard or willful or reckless acts or omissions by you that increase any hazard insured
          against;

    4.    The occurrence of a change in the individual risk which substantially increases any hazard insured against after
          insurance coverage has been issued or renewed, except to the extent that we reasonably should have foreseen
          the change or contemplated the risk in writing the contract;

    5.    Loss of applicable reinsurance or a substantial decrease in applicable reinsurance, if the superintendent has
          determined that reasonable efforts have been made to prevent the loss of, or substantial decrease in, the
          applicable reinsurance, or to obtain replacement coverage;

    6.    Failure by you to correct material violations of safety codes or to comply with reasonable written loss control
          recommendations; or

    7.    A determination by the superintendent of insurance that the continuation of the policy would create a condition
          that would be hazardous to the policyholders or the public.

    A written notice will be mailed or delivered to you at your last known address no less than:

     1.   10 days prior to the effective date of cancellation for nonpayment of premium; or

    2.    30 days prior to the effective date of cancellation for all other permissible reasons.

All other terms and conditions of the policy apply.




16211 (6-88)                                                                                                           Page 1 of 1
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Agency Code     03-0346-00                                                              Policy Number      206003-05475533



                                                                                                           16859 (7-19)



                ACTUAL CASH VALUE AND DEPRECIATION
                                             Commercial Inland Marine


It is agreed:

Wherever it appears in this policy and any endorsement           b. Any applicable taxes; and
attached to this policy:                                         c. Profit and overhead
1. Actual cash value means the cost to repair or                 necessary to repair, replace or rebuild lost or
    replace lost or damaged property with property of            damaged property.
    similar quality and features reduced by the amount      The meaning of actual cash value and depreciation in
    of depreciation applicable to the lost or damaged       this endorsement supersedes any provision in this policy
    property immediately prior to the loss.                 and any endorsement attached to this policy to the
2. Depreciation means a decrease in value because of        contrary.
    age, wear, obsolescence or market value and
    includes:                                               All other policy terms and conditions apply.
    a. The cost of materials, labor and services;



16859 (7-19)                                                                                                Page 1 of 1
               Case: 5:24-cv-02231-JRA Doc #: 1-1 Filed: 12/23/24 23 of 41. PageID #: 27
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                                                                                                                                    16080 (7-13)



                              COMMERCIAL INLAND MARINE CONDITIONS

INSURING AGREEMENT                                                            4. PROOF OF LOSS You must send us, within 60
We agree to provide insurance subject to all the terms of                        days after our request, a signed, swam proof of loss.
this coverage part. In return, you must pay the premium                          This must include the following information:
and comply with all the terms of this policy or coverage                         a. The time, place and circumstances of the loss;
part. This insurance applies to loss which occurs during                         b. Other policies of insurance that may cover the
the policy term shown in the Declarations. The cover-                                 loss;
ages provided, the limits of our liability and the prem-                         c. Your interest and the interests of all others in the
iums are also shown in the Declarations.                                              property involved, including all mortgages and
                                                                                      liens;
DEFINITIONS                                                                      d. Changes in title of the covered property during
To understand this coverage part, you must understand                                 the policy period; and
what we mean when we use these words:                                            e. Estimates, specifications, inventories and other
1. You and your mean the insured named in the                                         reasonable information that we may require to
    Declarations.                                                                     settle the loss.
2. We, us and our mean the Company providing this                             5. EXAMINATION You must submit to examination
    insurance.                                                                   under oath in matters connected with the loss as
                                                                                 often as we reasonably request and give us sworn
WHAT TO DO IN CASE OF LOSS                                                       statements of the answers. If more than one person
1. NOTICE In case of a loss, you must:                                           is examined, we have the right to examine and
   a. Give us or our agent prompt notice including a                             receive statements separately and not in the pres-
        description of the property involved (we may                             ence of others.
         request written notice); and                                         6. RECORDS
   b. Give notice to the police when the act that                                a. You must produce records, including tax returns
        causes the loss is a crime.                                                   and bank microfilms of all canceled checks
2. YOU MUST PROTECT PROPERTY You must take                                            relating to value, loss and expense and permit
   all reasonable steps to protect covered property at                                copies and extracts to be made of them as often
   and after an insured loss to avoid further loss.                                   as we reasonably request.
   a. Payment Of Reasonable Costs We do pay the                                  b. Produce for examination, with permission to
        reasonable costs incurred by you for necessary                                copy, all books of account, bills, invoices, re-
        repairs or emergency measures performed                                       ceipts and other vouchers as we may reason-
        solely to protect covered property from further                               ably required.
        damage by a peril insured against if a peril                          7. VOLUNTEER PAYMENTS You must not, except at
        insured against has already caused a loss to                             your own expense, voluntarily make any payments,
        covered property. You must keep an accurate                              assume any obligations, pay or offer any rewards, or
        record of such costs. Our payment of reason-                             incur any other expenses except as respects pro-
        able costs does not increase the limit of insur-                         tecting property from further damage.
        ance provided for covered property.
   b. We Do Not Pay We do not pay for such repairs                            SPECIAL CONDITIONS
        or emergency measures performed on property                           The following conditions apply unless otherwise stated in
        that has not been damaged by a peril insured                          a specific coverage form attached to this Commercial
        against.                                                              Inland Marine policy or this Commercial Inland Marine
3. DAMAGED PROPERTY                                                           coverage part.
   a. You must exhibit the damaged and undamaged                              ABANDONMENT You may not abandon the property to
        property as often as we reasonably request and                        us without our written consent.
        allow us to inspect or take samples of the prop-                      APPRAISAL
        erty.                                                                 If you and we do not agree on the amount of the loss or
   b. Make a list of all damaged and destroyed prop-                          the value of covered property, either party may demand
        erty, showing in detail quantities, costs, actual                     that these amounts be determined by appraisal.
        cash value and amount of loss claimed.


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If either makes a written demand for appraisal, each will                     . LOSS CLAUSE Except as shown under Limited Fungi
select a competent, independent appraiser and notify                            Coverage, if provided, the amount of insurance under
the other of the appraiser's identity within 20 days of                         this policy will not be reduced except for total loss of a
receipt of the written demand. The two appraisers will                          scheduled item. Any unearned premium that applies to
then select a competent, impartial umpire. If the two                           such item will be refunded.
appraisers are unable to agree upon an umpire within 15                         NO BENEFIT TO BAILEE Insurance under this cover-
days, you or we can ask a judge of a court of record in                         age will not directly or indirectly benefit anyone having
the state where the property is located to select an                            custody of your property.
umpire.                                                                         OTHER INSURANCE
The appraisers will then determine and state separately                         a. Proportional Share You may have another policy
the amount of each loss.                                                             subject to the same terms as this policy. If you do,
The appraisers will also determine the value of covered                              we will pay your share of the covered loss. Our
property items at the time of the loss, if requested.                                share is the proportion that the applicable limit under
If the appraisers submit a written report of any agree-                              this policy bears to the limit of all policies covering
ment to us, the amount agreed upon will be the amount                                on the same basis.
of the loss. If the appraisers fail to agree within a                           b. Excess Amount If there is another policy covering
reasonable time, they will submit only their differences to                          the same loss, other than that described above, we
the umpire. Written agreement so itemized and signed                                 pay only for the amount of covered loss in excess of
by any two of these three, sets the amount of the loss.                              the amount due from that other policy, whether you
Each appraiser will be paid by the party selecting that                              can collect on it or not. However, we do not pay
appraiser. Other expenses of the appraisal and the                                   more than the applicable limit.
compensation of the umpire will be paid equally by you                          OUR PAYMENT OF LOSS
and us.                                                                         a. Adjustment And Payment Of Loss We adjust all
ASSIGNMENT This provision applies only if the named                                  losses with you. Payment will be made to you
insured is an individual.                                                            unless another loss payee is named in the policy.
a. Your Death - On your death, we cover the following                           b. Conditions For Payment Of Loss An insured loss
      as an insured:                                                                 will be payable 30 days after:
      (1) The person who has custody of your property                                (1) A satisfactory proof of loss is received; and
           until a legal representative is qualified and                             (2) The amount of the loss has been established
           appointed; or                                                                  either by written agreement with you or the filing
      (2) Your legal representative.                                                      of an appraisal award with us.
      This person or organization is an insured only with                       OUR RIGHT TO RECOVER PAYMENT If we pay for a
      respect to property covered by this coverage.                             loss, we may require you to assign to us your right of
b. Policy Term Is Not Extended This coverage does                               recovery against others. You must do all that is neces-
      not extend past the policy term shown in the Decla-                       sary to secure our rights. We do not pay for a loss if you
      rations.                                                                  impair this right to recover. You may waive your right to
CONCEALMENT, MISREPRESENTATION OR FRAUD                                         recover from others in writing before a loss occurs.
This coverage is void as to you and any other insured if,                       PAIR OR SET The value of a lost or damaged article
before or after a loss:                                                         that is part of a pair or set is based on a reasonable
a. You or any other insured have willfully concealed or                         proportion of the value of the entire pair or set. The loss
      misrepresented:                                                           is not considered a total loss of the pair or set.
      (1) A material fact or circumstance that relates to                       PARTS The value of a lost or damaged part of an item
           this insurance or the subject thereof; or                            that consists of several parts when it is complete is
      (2) Your interest herein.                                                 based on the value of only the lost or damaged part or
b. There has been fraud or false swearing by you or                             the cost to repair or replace it.
      any other insured with regard to a matter that relates                    POLICY TERM We pay for a covered loss that occurs
      to this insurance or the subject thereof.                                 during the policy term.
COOPERATION You must cooperate with us in per-                                  RECOVERIES If we pay you for the loss and lost or
forming all acts required by this policy.                                       damaged property is recovered, or payment is made by
DEDUCTIBLE We pay only that part of your loss over                              those responsible for the loss, the following provisions
the deductible amount shown in the Declarations in any                          apply:
one occurrence.                                                                 a. You must notify us promptly if you recover property
INSURABLE INTEREST We do not cover more than                                         or receive payment;
your insurable interest in any property.                                        b. We must notify you promptly if we recover property
                                                                                     or receive payment;



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c. Any recovery expenses incurred by either are re-                           a. All of the terms of this coverage have been complied
    imbursed first;                                                                with; and
d. You may keep the recovered property but you must                           b. The suit has been brought within two years after
    refund to us the amount of the claim paid or any                               you first have knowledge of the loss.
    lesser amount to which we agree; and                                      If any applicable law makes this limitation invalid, then
e. If the claim paid is less than the agreed loss be-                         suit must begin within the shortest period permitted by
    cause of a deductible or other limiting terms of this                     law.
    policy, any recovery will be prorated between you                         VALUATION We will not pay more than the least of:
    and us based on our respective interest in the loss.                      a. The actual cash value of the damaged property at
RIGHT TO ADJUST LOSS WITH OWNER                                                    the time any loss or damage occurs. Actual cash
a. Adjustment And Payment Of Loss To Property Of                                   value may include a deduction for depreciation;
    Others Losses to property of others may be                                b. The cost to repair or replace the damaged property
    adjusted with and paid to:                                                     with like kind or quality; or
    (1) You on behalf of the owner; or                                        c. The amount of insurance stated for the class of
    (2) The owner.                                                                 property shown in the Declarations.
b. We Do Not Have To Pay You If We Pay The                                    WHEN TWO OR MORE COVERAGES APPLY
    Owner If we pay the owner, we do not have to pay                          If more than one coverage of this policy insures the
    you. We may also choose to defend any suits                               same loss, we pay no more than the actual claim, loss
    brought by the owners at our expense.                                     or damage sustained.
SUIT AGAINST US No one may bring a legal action
against us under this coverage unless:



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                                                                                                                     16203 (6-88)



                                         COMMON POLICY CONDITIONS
                                             (INLAND MARINE)

The following conditions apply to the INLAND MARINE COVERAGE PART:


1.   CANCELLATION                                                3.   EXAMINATION OF YOUR BOOKS AND
                                                                      RECORDS
     a.   You may cancel this policy by mailing or deliver-
          ing to us advance written notice of cancellation.           We may examine and audit your books and records
                                                                      as they relate to this policy at any time during the
     b.   We may cancel this policy by mailing or deliver-            policy period and up to three years afterward.
          ing to·you written notice of cancellation at least:
                                                                 4.   INSPECTIONS AND SURVEYS
          1)   10 days before the effective date of
               cancellation, if we cancel for nonpayment of           We have the right, but are not obligated to:
               premium; or
                                                                      a.   make inspections and surveys at any time;
          2)   30 days before the effective date of
               cancellation, if we cancel for any other               b.   give you reports on the conditions we find based
               reason.                                                     upon a. above; and

     c.   We will mail or deliver our notice to your mailing          c.   make recommendations for changes based
          address shown in the Declarations.                               upon a. above.

     d.   The notice of cancellation will state the effective         Such inspections, surveys, reports or recommenda-
          date of cancellation. The policy period will end            tions relate only to insurability and the premiums to
          on that date.                                               be charged. We do not make safety inspections.
                                                                      We do not undertake to perform the duty of any
     e.   Refund of any premium due will be made as                   person or organization to provide for the health or
          soon as practicable after the date of cancella-             safety of workers or the public. We do not warrant
          tion. You will be charged premium only for the              that conditions:
          days you were covered during the policy period.
          The cancellation will be effective even if we have          a.   are safe or healthful; or
          not made or offered a refund.                               b.   comply with laws, regulations, codes or
                                                                           standards.
     f.   Proof of mailing will be sufficient proof of notice.
                                                                      This condition applies not only to us, but also to any
2.   CHANGES                                                          rating, advisory, rate service or similar organization
                                                                      which makes these insurance inspections, surveys,
     This policy and the Declarations include all the                 reports or recommendations for us.
     agreements between you and us relating to this
     insurance. No change or waiver may be effected in           5.   PREMIUMS
     this policy except by endorsement issued by us.
                                                                      The first Named Insured shown in the Declarations:
     If a premium adjustment is necessary, we will make
     the adjustment as of the effective date of the                   a.   is responsible for the payment of all premiums;
     change.                                                               and

                                                                      b.   will be the payee for any return premiums we
                                                                           pay.


16203 (6-88)                                                                                                          Page 1 of 2
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6. TRANSFER OF YOUR RIGHTS AND DUTIES                        a.   your legal representative while acting in that
   UNDER THIS POLICY                                              capacity; and

    Interest in this policy may not be transferred without   b.   any person having proper custody of insured
    our written consent. But if you die, the policy will          property until a legal representative is appointed.
    cover:



16203 (6·88)                                                                                               Page 2 of2
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Agency Code      03-0346-00                                                                      Policy Number    206003-05475533



                                                                                                                   16381 (7-08)


              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


     CONDITIONAL EXCLUSION OF TERRORISM
  INVOLVING NUCLEAR, BIOLOGICAL OR CHEMICAL
TERRORISM (RELATING TO DISPOSITION OF FEDERAL
        TERRORISM RISK INSURANCE ACT)
This endorsement modifies insurance provided under the following:

    COMMERCIAL INLAND MARINE COVERAGE PART


A. Applicability Of This Endorsement                                    3.     If this endorsement does NOT become appli-
                                                                               cable, then any terrorism endorsement al-
    1.   The provisions of this endorsement will                               ready endorsed to this policy, that addresses
         apply if and when one of the following situa-                         "certified acts of terrorism", will remain in
         tions occurs:                                                         effect. However, if the Program is renewed,
                                                                               extended or otherwise continued in effect
         a.    The federal Terrorism Risk Insurance                            with revisions that change the level or terms
               Program ("Program"), established by the                         or conditions of coverage, and we are re-
               Terrorism Risk Insurance Act of 2002                          . quired to offer you the revised coverage or to
               (including ensuing Congressional actions                        provide the revised coverage to those who
               pursuant to the Act), terminates; or                            previously accepted coverage under the Pro-
                                                                               gram, then we will take the appropriate steps
         b. The Program is renewed, extended or                                in response to the federal requirements.
            otherwise continued in effect:
                                                                    B. The following definition is added and applies under
               (1) With revisions that increase insurers'              this endorsement wherever the term terrorism is
                   statutory percentage deductible or                  enclosed in quotation marks.
                   decrease the federal government's                   "Terrorism" means activities against persons,
                   statutory percentage share in poten-                organizations or property of any nature:
                   tial terrorism losses above such de-
                   ductible, or that results in a change in             1.   That involve the following or preparation for the
                   the level or terms or conditions of                       following:                ·
                   coverage; and
                                                                             a.   Use or threat of force or violence; or
               (2) We are not required by the Program
                   to make terrorism coverage available                      b. Commission or threat of a dangerous act; or
                   to you and elect not to do so.
                                                                             c.   Commission or threat of an act that inter-
    2. When this endorsement becomes applicable                                   feres with or disrupts an electronic, commu-
       in accordance with the terms of A.1.a. or                                  nication, information, or mechanical system;
       A.1.b., above, it supersedes any terrorism                                 and
       endorsement already endorsed to this policy
       that addresses "certified acts of terrorism".                    2.   When one or both of the following applies:



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16381 (7-08)                               Copyright ISO Properties, Inc, 2004                                      Page 1 of 2
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       a.     The effect is to intimidate or coerce a gov-              1. The "terrorism" is carried out by means of the
              ernment or the civilian population or any                      dispersal or application of radioactive material,
              segments thereof, or to disrupt any segment                    or through the use of a nuclear weapon or
              of the economy; or                                             device that involves or produces a nuclear
                                                                             reaction, nuclear radiation or radioactive con-
       b. It appears that the intent is to intimidate or                     tamination;
              coerce a government or the civilian popula-
              tion, or to further political, ideological, reli-         2.   Radioactive material is released, and it appears
              gious, social or economic objectives or to                     that one purpose of the "terrorism" was to re-
              express (or express opposition to) a philo-                    lease such material;
              sophy or ideology.
                                                                        3.   The "terrorism" is carried out by means of the
C. The following exclusion is added:                                         dispersal or application of pathogenic or poison-
                                                                             ous biological or chemical materials; or
   Exclusion Of "Terrorism"
                                                                        4.   Pathogenic or poisonous biological or chemical
   We will not pay for loss or damage caused directly                        materials are released, and it appears that one
   or indirectly by "terrorism", including action in hin-                    purpose of the "terrorism" was to release such
   dering or defending against an actual or expected                         materials.
   incident of "terrorism". Such loss or damage is
   excluded regardless of any other cause or event that                 Multiple incidents of "terrorism" which occur within a
   contributes concurrently or in any sequence to the                   72-hour period and appear to be carried out in
   loss. This exclusion applies only when one or more                   concert or to have a related purpose or common
   of the following are attributed to an incident of                    leadership will be deemed to be one incident,
   "terrorism":                                                         regardless of whether this endorsement was in
                                                                        effect during the entirety of that time period or not.




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16381 (7-08)                               Copyright ISO Properties, Inc., 2004                                     Page 2 of 2
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Agency Code      03-0346-00                                                                                     Policy Number   206003-05475533


                                                                                                                                   16691 (7-14)
COINSURANCE CONTRACT

                                             BUILDERS' RISK COVERAGE
                                           REHABILITATION AND RENOVATION FORM


AGREEMENT
In return for your payment of the required premium, we provide the coverage described herein subject to all the "terms" of
the Builders' Risk Coverage Rehabilitation and Renovation Form. This coverage is also subject to the Declarations, Com-
mercial Inland Marine Conditions and additional policy conditions relating to cancellation, changes or modifications and
inspections.

Endorsements and schedules may also apply. They are shown in the Declarations.

Refer to the Definitions section for additional words and phrases that have special meaning. These words and phrases
are shown in quotation marks.

The descriptions in the headings of this coverage form and all applicable endorsements are solely for convenience and
form no part of the "terms" of coverage.


PROPERTY COVERED                                                                        (1) Non-completion or late completion of a "re-
We cover the following property unless the property is                                      habilitation or renovation project" in accor-
excluded or subject to limitations.                                                         dance with the provisions or conditions in
1. Coverage We cover direct physical loss or dam-                                           the construction contract; or
    age caused by a covered peril to "building materials"                               (2) Non-compliance with any provisions or con-
    and "existing buildings" that are part of your "rehabil-                                ditions in the construction contract.
    itation or renovation project".                                               b.    Diminution In Value We do not pay for any
2. Coverage Limitations                                                                 loss of value or any diminution in value of a
    a. We only cover "existing buildings" when a "limit"                                "rehabilitation or renovation project". however
          is shown in the Declarations for Existing Build-                              measured, that remains following the repair or
          ings.                                                                         replacement of a covered loss.
    b. We only cover "building materials" that:
          (1) Will become; or                                                PROPERTY NOT COVERED
          (2) Since the inception date of this policy, have                  1. Contraband We do not cover contraband or prop-
               become                                                           erty in the course of illegal transportation or trade.
          a permanent part of the rehabilitation or renova-                  2. Excavations, Grading, Filling, Pipes, Flues And
          tion of an "existing building" or an extension of                     Drains We do not cover:
          or addition to an "existing building".                                a. The cost of excavations, grading or filling; and
    c. We only cover "existing buildings" and "building                         b. Underground pipes; flues; and drains.
          materials" at the "jobsite" shown in the Declara-                  3. Land We do not cover land including land on which
          tions.                                                                covered property is located.
3. Vacant Building Limitation We only cover a va-                            4. Not A Permanent Part Of Building We do not
    cant "existing building" for 60 consecutive days from                       cover:
    the inception date of this policy unless:                                   a. Materials and supplies;
    a. Building permits have been obtained; and                                 b. Machinery, tools and equipment; and
    b. Rehabilitation or renovation work has begun on                           c. Business personal property
         the "existing building".        '                                      that will not become a permanent part of a covered
    This limitation is waived only when a date is shown                         "existing building".
    in the Declarations under Vacant Building Limitation                     5. Roadways And Walkways We do not cover any
    Waived.                                                                     portion of walkways, roadways and other paved
4. We Do Not Pay                                                                surfaces that is more than 1,000 feet from a covered
    a. Penalties We do not pay for any penalties for:                           "existing building".



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6. Standing Building Or Structure Except for a                                      the loss to property and debris removal com-
   covered "existing building", we do not cover any:                                 bined exceeds the "limit" for the damaged prop-
   a. Standing building or standing structure; or                                    erty.
   b. Part of a standing building or standing structure                          e. You Must Report Your Expenses We do not
   that has been wholly or partially constructed,                                    pay any expenses unless they are reported to
   erected or fabricated prior to the inception of this                              us in writing within 180 days from the date of
   policy.                                                                           direct physical loss to covered property.
7. Trees, Shrubs And Plants We do not cover trees,                            2. Limited Fungi Coverage
   shrubs, plants or lawns.                                                      a. Coverage We pay for:
8. Waterborne Property We do not cover property                                      (1) Costs and expenses arising out of the pres-
   while waterborne except while in transit in the cus-                                   ence of "fungi" on covered property caused
   tody of a carrier for hire.                                                            by or resulting from a covered peril; and
                                                                                     (2) Direct physical loss or damage to covered
COVERAGE EXTENSIONS                                                                       property caused by or relating to the exis-
Provisions That Apply To Coverage Extensions                                              tence of or any activity of "fungi".
The following Coverage Extensions indicate an appli-                             b. Coverage Limitation We only provide the cov-
cable "limit". This "limit" may also be shown in the Dec-                           erage described in item 2.a. above:
larations.                                                                          (1) When the "fungi" is the result of a:
 If a different "limit" is shown in the Declarations, that                                (a) "Specified peril" other than fire or light-
"limit" will apply instead of the "limit" shown below.                                         ning; or
However, if no "limit" is indicated for a Coverage Exten-                                 (b) "Flood" (if the Flood Coverage is pro-
sion within this coverage form, coverage is provided up                                       vided under this policy);
to the full "limit" for the applicable covered property un-                               that occurs during the policy term; and
less a different "limit" is shown in the Declarations.                              (2) If all reasonable steps were taken to protect
Unless otherwise indicated, the coverages provided be-                                    the property from additional damage at and
low are part of and not in addition to the applicable "limit"                             after the time of the occurrence.
for coverage described under Property Covered.                                   c. Limited Fungi Coverage Limit The most we
The "limit" provided under a Coverage Extension cannot                              pay for all loss or damage covered by this Cov-
be combined or added to the "limit" for any other Cov-                              erage Extension at all "rehabilitation and renova-
erage Extension or Supplemental Coverage, including a                               tion projects" is $15,000, unless another "limit" is
Coverage Extension, Supplemental Coverage or other                                  shown in the Declarations.
coverage that is added to this policy by endorsement.                               The Limited Fungi Coverage Limit applies re-
If coinsurance provisions are part of this policy, the fol-                         gardless of the number of claims made.
lowing Coverage Extensions are not subject to and not                               The Limited Fungi Coverage Limit applies re-
considered in applying coinsurance conditions.                                      gardless of the number of locations or "rehabil-
1. Debris Removal                                                                   itation and renovation projects" insured under
      a. Coverage We pay the cost of debris removal.                                this policy.
           Debris removal means the costs for the demo-                             The Limited Fungi Coverage Limit is the most
           lition, clearing and removal of debris of covered                        that we pay for the total of all loss or damage
           property if such debris results from a covered                           arising out of all occurrences of "specified per-
           peril.                                                                   ils", other than fire or lightning, or "flood" (if ap-
      b. We Do Not Cover This coverage does not in-                                 plicable) during each separate 12-month period
           clude costs to:                                                          beginning with the inception date of this policy.
           (1) Extract "pollutants" from land or water; or                       d. If The Policy Term Is Extended If the policy
           (2) Remove, restore or replace polluted land or                          term is extended for an additional term of less
                 water.                                                             than 12 months, this additional term will be con-
      c. Limit We do not pay any more under this cov-                               sidered part of the preceding term for the pur-
           erage than 25% of the amount we pay for the                              pose of determining the Limited Fungi Coverage
           direct physical loss or damage exclusive of the                          Limit.
           costs for debris removal. We will not pay more                        e. Recurrence And Continuation Of Fungi
           for loss to property and debris removal com-                             The Limited Fungi Coverage Limit is the most
           bined than the "limit" for the damaged property.                         that we pay with respect to a specific occur-
      d. Additional Limit We pay up to an additional                                rence of a loss which results in "fungi" even if
           $10,000 for debris removal expense when the                              such "fungi" recurs or continues to exist during
           debris removal expense exceeds 25% of the                                this or any future policy term.
           amount we pay for direct physical loss or when


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    f.  Limit Applies To Other Costs Or Expenses                                    reasonable expediting expenses necessary to
        The Limited Fungi Coverage Limit also applies                               complete construction within the time frame
        to any cost or expense to:                                                  specified in the construction contract.
        (1) Clean up, contain, treat, detoxify or neutral-                      b. Expediting Expenses Include
             ize "fungi" on covered property or remove                              Expediting expenses include, but are not limited
             "fungi" from covered property;                                         to, additional:
        (2) Remove and replace those parts of covered                               (1) Labor or overtime;
             property necessary to gain access to                                   (2) Transportation costs and storage expense;
             "fungi"; and                                                           (3) Expense to rent additional equipment; and
        (3) Test for the existence or level of "fungi" fol-                         (4) Similar construction expenses.
             lowing the repair, replacement, restoration                        c. Limit The most we pay in any one occurrence
             or removal of damaged property if it is rea-                           for all expediting expenses is $10,000.
             sonable to believe that "fungi" is present.                     2. Pollutant Cleanup And Removal
     g. Loss Not Caused By "Fungi" If there is a cov-                           a. Coverage We pay your expense to extract "pol-
        ered loss or damage to covered property not                                 lutants" from land or water if the discharge, dis-
        caused by "fungi", loss payment will not be lim-                            persal, seepage, migration, release or escape of
        ited by the "terms" of this Coverage Extension.                             the "pollutants" is caused by a covered peril that
        However, to the extent that "fungi" causes an                               occurs during the policy period.
        increase in the loss, that increase is subject to                       b. Time Limitation The expenses to extract "pol-
        the "terms" of this Coverage Extension.                                     lutants" are paid only if they are reported to us in
                                                                                    writing within 180 days from the date the cov-
SUPPLEMENTAL COVERAGES                                                              ered peril occurs.
Provisions That Apply To Supplemental Coverages                                 c. We Do Not Cover We do not pay the cost of
The following Supplemental Coverages indicate an ap-                                testing, evaluating, observing or recording the
plicable "limit". This "limit" may also be shown in the                             existence, level or effects of "pollutants".
Declarations.                                                                       However, we pay the cost of testing which is
 If a different "limit" is shown in the Declarations, that                          necessary for the extraction of "pollutants" from
"limit" will apply instead of the "limit" shown below.                              land or water.
However, if no "limit" is indicated for a Supplemental                          d. Limit The most we pay for each location is
Coverage within this coverage form, coverage is pro-                                $10,000 for the sum of all such expenses arising
vided up to the full "limit" for the applicable covered                             out of a covered peril occurring during each
property unless a different "limit" is shown in the Decla-                          separate 12-month period of this policy.
rations.                                                                     3. Temporary Storage Locations
Unless otherwise indicated, a "limit" for a Supplemental                        a. Coverage We cover direct physical loss or
Coverage provided below is separate from, and not part                              damage caused by a covered peril to covered
of, the applicable "limit" for coverage described under                             "building materials" while temporarily in storage
Property Covered.                                                                   at a location that is not described in the Decla-
The "limit" available for coverage described under a                                rations.
Supplemental Coverage is:                                                       b. We Do Not Cover We do not cover "building
a. The only "limit" available for the described coverage;                           materials" in storage if the property has not
      and                                                                           been specifically allocated to or otherwise iden-
b. Is not the sum of the "limit" indicated for a Supple-                            tified with a "jobsite" described in the Declara-
      mental Coverage and the "limit" for coverage de-                              tions.
      scribed under Property Covered.                                           c. Limit The most we pay in any one occurrence
The "limit" provided under a Supplemental Coverage                                  for loss to property at a storage location is
cannot be combined or added to the "limit" for any other                            $10,000.
Supplemental Coverage or Coverage Extension, includ-                         4. Transit
ing a Supplemental Coverage, Coverage Extension or                              a. Coverage We cover direct physical ioss or
other coverage that is added to this policy by endorse-                             damage caused by a covered peril to covered
ment.                                                                               "building materials" while in transit.
If coinsurance provisions are part of this policy, the fol-                     b. Limit The most we pay in any one occurrence
lowing Supplemental Coverages are not subject to and                                for loss to property in transit is $10,000.
not considered in applying coinsurance conditions.
1. Expediting Expenses                                                       PERILS COVERED
      a. Coverage When a covered peril occurs to a                           We cover risks of direct physical loss or damage unless
           "rehabilitation or renovation project", we pay for                the loss is limited or caused by a peril that is excluded.


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PERILS EXCLUDED                                                                   e. Nuclear Hazard Nuclear reaction, nuclear radi-
1. We do not pay for loss or damage caused directly or                               ation or radioactive contamination (whether con-
   indirectly by, or consisting of, one or more of the                               trolled or uncontrolled; whether caused by nat-
   following excluded causes, events or conditions.                                  ural, accidental or artificial means). Loss
   Such loss or damage is excluded regardless of other                               caused by nuclear hazard is not considered loss
   causes, events or conditions that contribute to or                                caused by fire, explosion or smoke. Direct loss
   aggravate the loss, whether such causes, events or                                by fire resulting from the nuclear hazard is cov-
   conditions act to produce the loss before, at the                                 ered.
   same time as, or after the excluded causes, events                             f. Ordinance Or Law Enforcement of any code,
   or conditions.                                                                    ordinance or law regulating the use, construction
   a. Civil Authority Order of any civil authority, in-                              or repair of any building or structure; or requiring
        cluding seizure, confiscation, destruction or                                the demolition of any building or structure includ-
        quarantine of property.                                                      ing the cost of removing its debris.
        We do cover loss resulting from acts of destruc-                             We do not pay for loss or increased cost regard-
        tion by the civil authority to prevent the spread of                         less if the loss or increased cost is caused by or
        fire, unless the fire is caused by a peril ex-                               results from the:
        cluded under this coverage.                                                  (1) Enforcement of any code, ordinance or law
   b. Earth Movement Any "earth movement",                                                 even if a building or structure has not been
        whether natural or manmade and regardless of                                       damaged; or
        cause and regardless of whether or not the                                   (2) Increased costs that you incur because of
        cause of "earth movement":                                                         your compliance with a code, ordinance or
        (1) Originated at the covered property; or                                         law during the construction, repair, rehabili-
        (2) Was being performed at your request or for                                     tation, remodeling or razing of a building or
              your benefit.                                                                structure, including the removal of debris,
        However, if eruption, explosion or effusion of a                                   following direct physical loss or damage to
        volcano results in "volcanic action", we will pay                                  the property.
        for the loss or damage caused by that "volcanic                           g. Sewer, Septic Tank, Sump Or Drain Backup
        action".                                                                     And Water Below The Surface
         If "earth movement" results in fire, we will pay                            (1) Water or waterborne material that backs up,
        for the loss or damage caused by that fire. If                                     overflows or is otherwise discharged through
        "earth movement" (other than eruption, explo-                                      a sewer or drain, sump or septic tank, eaves
        sion or effusion of a volcano) results in explo-                                   trough or downspout; or
        sion, we will pay for the loss or damage caused                              (2) Water or waterborne material below the sur-
        by that explosion.                                                                 face of the ground, whether naturally or arti-
        This exclusion does not apply to covered prop-                                     ficially occurring, including but not limited to
        erty while in transit.                                                             water or waterborne material that exerts
   c, Flood "Flood".                                                                       pressure on or flows, seeps or leaks through
         Regardless of the cause. we also do not cover                                     or into a covered building or structure, side-
        waterborne material carried or otherwise moved                                     walk, driveway, foundation, swimming pool
        by "flood", whether or not driven by wind, includ-                                 or other structure.
        ing storm surge, or material carried or otherwise                            However, if sewer. drain, sump, septic tank,
        moved by mudslide or mudflow.                                                eaves trough or downspout backup and water or
        However, if "flood" results in fire, explosion or                            waterborne material below the surface results in
        sprinkler leakage, we will pay for the loss or                               fire, explosion or sprinkler leakage, we cover the
        damage caused by that fire, explosion or sprin-                              loss or damage caused by that fire, explosion or
        kler leakage.                                                                sprinkler leakage.
        This exclusion does not apply to covered prop-                               This exclusion does not apply to covered prop-
        erty while in transit.                                                       erty while in transit.
   d. "Fungi" Except as provided under Coverage                                   h. War And Military Action
        Extensions - Limited Fungi Coverage, the ex-                                 (1) War, including undeclared war or civil war;
        istence of or any activity of "fungi".                                       (2) A warlike action by a military force, including
        However, if "fungi" results in a "specified peril",                                action taken to prevent or defend against an
        we cover loss or damage caused by that "spec-                                      actual or expected attack, by any govern-
        ified peril".                                                                      ment, sovereign or other authority using mil-
        This exclusion does not apply to:                                                  itary personnel or other agents; or
        (1) Loss that results from fire or lightning; or                             (3) Insurrection, rebellion, revolution or unlaw-
        (2) Collapse caused by hidden decay.                                              ful seizure of power including action taken

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               by governmental authority to prevent or de-                                , (a) Originated at a covered "rehabilitation or
               fend against any of these.                                                            renovation project; or
          With regard to any action that comes within the                                       (b) Was being performed at your request or
          "terms" of this exclusion and involves nuclear                                             for your benefit.
          reaction, nuclear radiation or radioactive con-                          e. Delay In Completion And Increased Con-
          tamination, this War And Military Action exclu-                             struction Costs
          sion will apply in place of the Nuclear Hazard                              (1) We do not pay for loss or damage caused
          exclusion.                                                                            directly or indirectly by a:
2.   We do not pay for loss or damage that is caused by                                         (a) Delay in the completion of construction,
     or results from one or more of the following:                                                   rehabilitation or renovation of your "re-
     a. Collapse We do not pay for loss or damage                                                    habilitation or renovation project" or any
          caused by or resulting from collapse, except as                                            portion of your "rehabilitation or renova-
          provided under Other Coverages - Collapse.                                                 tion project"; or
          However, if collapse results in a covered peril,                                      (b) A change in the sequence of construc-
          we cover the loss or damage caused by that                                                 tion, rehabilitation or renovation of your
          covered peril.                                                                             "rehabilitation or renovation project" or
          This exclusion does not apply to covered prop-                                             any portion of your "rehabilitation or re-
          erty while in transit.                                                                     novation project"
     b. Contamination Or Deterioration We do not                                                regardless of the cause of the delay in com-
          pay for loss or damage caused by or resulting                                         pletion or change in sequence.
          from contamination or deterioration including                               (2) We also do not pay for increased construc-
          corrosion, decay, rust or any quality, fault or                                       tion costs caused by or resulting from a
          weakness in covered property that causes it to                                   . delay in completion or change in sequence
          damage or destroy itself.                                                        ' as described above under items e.(1). In-
     c. Criminal, Fraudulent, Dishonest Or Illegal                                              creased construction costs include, but are
          Acts We do not pay for loss or damage caused                                      · not limited to:
          by or resulting from criminal, fraudulent, dis-                                   · (a) General conditions;
          honest or illegal acts committed alone or in col-                                     (b) Increased construction costs and addi-
          lusion with another by:                                                           .        tional construction expenses;
          (1) You;                                                                              (c) Increased overhead, increased material
          (2) Others who have an interest in the property;                                           costs and increased labor costs;
          (3) Others to whom you entrust the property;                                          (d) Soft costs; and
          (4) Your partners, officers, directors, trustees,                                     (e) Loss of earnings and loss of rental in-
               joint venturers, or your members or man-                                              come,
               agers if you are a limited liability company;                          (3) General conditions means general condi-
               or                                                                               tions and extended general conditions in-
          (5) The employees or agents of (1). (2), (3) or                                       cluding, but not limited to, costs of addi-
               (4) above, whether or not they are at work.                                      tional:
          This exclusion does not apply to acts of destruc-                                     (a) Utility charges;
          tion by your employees, however, we do not pay                                      · (b) Maintenance;
          for theft by employees.                                                               (c) Facilities;
          This exclusion does not apply to covered prop-                                        (d) Communications; and
          erty in the custody of a carrier for hire.                                            (e) Administrative personnel.
     d. Defects, Errors And Omissions In Design Or                                 f. Electrical Currents We do not pay for loss or
          Planning                                                                    damage caused by or resulting from arcing or by
          (1) We do not pay for loss or damage caused                                 electrical currents other than lightning.
               by or resulting from an act, defect, error or                          However, if arcing or electrical currents other
               omission (negligent or not) relating to:                               than lightning result in a "specified peril", we do
               (a) Design including specifications; or                                cover the loss or damage caused by that "spec-
               (b) Planning including zoning, development,                            ified peril".
                    siting, surveying, grading or compaction.                      g. Freezing· We do not pay for loss or damage
          However, if an act, defect, error or omission as                            caused by or resulting from water; other liquids;
          described above results in a "specified peril". we                          powder; or molten material that leaks or flows
          do cover the loss or damage caused by that                                  from plumbing, heating, air conditioning systems
          "specified peril".                                                          or apptances other than fire protective systems
          (2) This exclusion applies regardless of whether                            caused by freezing.
               or not the act, defect, error or omission:

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       This exclusion does not apply if you use reason-                             foundations, walls, ceilings, glass or roofs.
       able care to maintain heat in the building or                                 However, if settling, cracking, shrinking, bulging
       structure; or you drain the equipment and turn                               or expanding as described above results in a
       off the supply if the heat is not maintained.                                 covered peril, we do cover the loss or damage
    h. Loss Of Use And Consequential Loss We do                                     caused by that covered peril.
       not pay for loss or damage caused by or result-                         o. Steam BoilJr Explosion We do not pay for
       ing from loss of use, delay or loss of market.                                loss or damdge caused by or resulting from an
       We also do not pay for any consequential loss                                explosion of �team boilers, steam pipes. steam
       or damage of any nature.                                                     turbines or steam engines.
    i. Materials And Workmanship We do not pay                                       However, if �n explosion of steam boilers, steam
       for loss or damage caused by or resulting from                                pipes. steam\turbines or steam engines results
       faulty, inadequate or defective materials or                                  in a fire or combustion explosion, we cover the
                                                                                                     I
       workmanship.                                                                  loss or damage caused by that fire or combus-
       However, if loss by a covered peril results, we                              tion explosion.\ We also cover loss or damage
       pay for the resulting loss.                                                  caused by or resulting from the explosion of gas
    j. Mechanical Breakdown We do not pay for loss                                   or fuel in a firebox, combustion chamber or flue.
       or damage caused by or resulting from:                                  p. TemperaturJ/Humidity We do not pay for loss
       (1) Mechanical breakdown; or                                                 or damage caused by or resulting from dryness,
       (2) Rupturing or bursting of moving parts of                                 dampness, hllmidity or changes in or extremes
                                                                                                       I
            machinery caused by centrifugal force.                                  of temperature.
       However, if a mechanical breakdown or ruptur-                           q. Voluntary P�rting We do not pay for loss or
       ing or bursting of moving parts of machinery                                 damage caus:ed by or resulting from voluntary
       caused by centrifugal force results in a "sped-                              parting with title to or possession of any property
       fied peril", we do cover the loss or damage                                   because of a�y        \ fraudulent scheme, trick or false
       caused by that "specified peril".                                            pretense.
    k. Missing Property We do not pay for missing                              r. Wear And Tear We do not pay for loss or dam-
       property where the only proof of loss is unex-                               age caused by or resulting from wear and tear,
       plained or mysterious disappearance of covered                                marring or scratching.
       property, shortage of property discovered on                                                      \
       taking inventory or any other instance where                        OTHER COVERAGES
       there is no physical evidence to show what hap-                     Collapse                       \
       pened to the covered property.                                      1. Coverage We pay for loss caused by direct phys-
       This exclusion does not apply to covered prop-                          ical loss or damage involving collapse of "existing
       erty in the custody of a carrier for hire.                              buildings" while in the course of rehabilitation or ren-
    1. Pollutants We do not pay for loss or damage                             ovation including: \
       caused by or resulting from release, discharge,                         a. Any part of "existing buildings"; or
       seepage, migration, dispersal or escape of "pol-                        b. "Building materials" inside of "existing buildings".
       lutants":                                                           2. Covered Perils We only cover collapse of "existing
       (1) Unless the release, discharge, seepage,                             buildings" while in the course of rehabilitation or ren-
            migration, dispersal or escape is caused by                        ovation if the collapse is caused by one or more of
            a "specified peril"; or                                            the following perilsj
       (2) Except as specifically provided under the                           a. "Specified perils" only as insured against in this
                                                                                                            I
            Supplemental Coverages - Pollutant Clean-                               coverage form;
            up And Removal.                                                    b. Hidden decay, \unless you know of the presence
       We do cover any resulting loss caused by a                                   of the decay prior to the collapse;
       "specified peril".                                                      c. Hidden insect Jr vermin damage, unless you
    m. Rain, Snow, Ice Or Sleet We do not pay for                                   know of the da\!'age prior to the collapse;
       loss or damage caused by or resulting from rain,                        d. Weight of peop1le or personal property;
       snow, ice or sleet to property in the open that is                      e . Weight of rain that collects on a roof; or
       not part of the permanent "existing building".                          f. Use of defective materials.
       This exclusion does not apply to property in the                    3. Collapse Means dollapse means a sudden and
       custody of carriers for hire.                                           unexpected falling ih or caving in of an "existing
    n. Settling, Cracking, Shrinking, Bulging Or Ex-                           building", including any portion of an "existing build-
       panding We do not pay for loss or damage                                ing", while in the course of rehabilitation or renova-
       caused by or resulting from settling, cracking,                         tion with the result that rehabilitation or renovation
       shrinking, bulging or expanding of pavements,                           cannot be completed as intended.


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4. Collapse Does Not Mean The following are not                                            place th� part of "building materials" that
     considered to be in a state of collapse:                                              sustain �irect physical loss or damage but
     a. A structure or building that is standing or any                                    only if sLlch costs have been included as
         portion of a structure or building that is standing                               part of the "limit" for a covered "rehabilitation
         even if it displays evidence of bending, bulging,                                 or renovktion project".
         cracking, expansion, leaning, sagging, settling or                      b. Replacement Cost If Replacement Cost is
         shrinkage;                                                                   shown in the\ Declarations under Rehabilitation
     b. A structure or building or any portion of a struc-                            And Renovation for "building materials", the
         ture or building in danger of falling in or caving;                          value of "building materials" will be based on
         and                                                                          replacement least.
     c. A portion of a structure or building that is stand-                           Replacement cost of "building materials" means:
                                                                                                      I
         ing even if it has separated from another portion                            (1) The necessary and reasonable costs of
         of the structure or building.                                                     material� and labor incurred to repair or re-
5.   Limited Fungi Coverage Does Not Increase/                                             place, without deduction for depreciation,
                                                                                                       I
     Decrease Coverage The "terms" under Coverage                                          the part of the covered property that sus-
     Extension - Limited "Fungi" Coverage do not in-                                       tains direFt physical loss or damage;
     crease or decrease the coverage for Collapse.                                    (2) The reasonable overhead and profit related
                                                                                           to the coJered property that sustains direct
VALUATION                                                                                  physical lbss or damage but not to exceed
Under Commercial Inland Marine Conditions, Special                                         the overhead and profit being charged for
Conditions, Valuation is deleted as it applies to Builders'                                the "rehabilitation or renovation project" in
Risk Coverage, Rehabilitation and Renovation Form.                                         accordance with the construction contracts;
1. Existing Building                                                                       and           \
    a. Stated Value If Stated Value is shown in the                                   (3) Other related construction costs and ex-
        Declarations for Existing Building, the value of                                   penses that are re-incurred to repair or
        an "existing building" that sustains direct phys-                                  replace th� part of the covered property that
        ical loss or damage will be based on the "limit"                                   sustains direct physical loss or damage but
        shown for Existing Building in the Declarations.                                   only if such costs have been included as
    b. Actual Cash Value If Actual Cash Value is                                           part of th� "limit" for a covered "rehabiliation
        shown in the Declarations for Existing Building,                                   or renovation project".                ,
        the value of the part of an "existing building" that                          Replacement cost is limited to the cost of repair
        sustains direct physical loss or damage will be                               or replacement owith similar materials on the
        based on the actual cash value at the time of                                 same site and \used for the same purpose.
        loss (with a deduction for depreciation).                                     If the part of the covered property that sustains
2. Building Materials                                                                 direct physical \loss or damage is repaired or re-
    a. Actual Cash Value If Actual Cash Value is                                      placed, the payment will not exceed the amount
        shown in the Declarations under Rehabilitation                               you spend to repair or replace the damaged or
                                                                                                           I
        And Renovation for "building materials", the                                  destroyed property.
        value of "building materals" will be based on the                     HOW MUCH WE PAY              I
        actual cash value at the time of loss (with a                         1. Loss Settlement rierms Subject to paragraphs 2.
        deduction for depreciation).                                             and 3. under How Much We Pay and the Special
                                                                                                               1

        The actual cash value of "building materials"                            Conditions, lnsura81e Interest, Deductible, When
        means:                                                                   Two or More Cover,age Apply and Other Insurance
        (1) The necessary and reasonable costs of                                under Commercial Inland Marine Conditions, we pay
             materials and labor incurred to repair or re-                       the lesser of:              \
             place, with a deduction for depreciation, the                       a. The amount determined under Valuation herein;
             part of the covered "building materials" that                       b. The cost to repalr, replace or rebuild the prop-
             sustains direct physical loss or damage;                                 erty with material of like kind and quality to the
        (2) The reasonable overhead and profit related                                extent practicable; or
             to the covered "building materials" that sus-                       c. The "limit"'that �pplies to the covered property.
             tains direct physical loss or damage but not
             to exceed the overhead and profit being
                                                                              2. Limits       ,    ,               l
                                                                                 a. Building M,aterials Limit The most we pay in
             charged for the "rehabilitation or renovation                            any one occurrence for loss to "building materi-
                                                                                                                       1
             project" in accordance with the construction                             als" is the Buildir g Materials Limit shown in the
             contracts; and                                                           Declaration's. .
        (3) Other related construction costs and ex-                             b. Existing Building Limit The most we pay in
             penses that are re-incurred to repair or re-                            any one occurrepce for loss to an "existing

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                                                                                                       I           L
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        building" is the Existing Building Limit shown in                         c.   Rebuild; repair or replace the property with other
        the Declarations.                                                              property of �quivalent kind and quality, to the
     c. Catastrophe Limit The most we pay in any one                                   extent practifable, within a reasonable time; or
        occurrence is the Catastrophe Limit, regardless                           d. Take all or part of the property at the agreed or
        if an occurrence or loss involves:                                            appraised v�lue.
        (1) "Building materials" and "existing building";                    2.   Notice Of Our hitent To Rebuild, Repair Or
             or                                                                   Replace - We most give you notice of our intent to
        (2) One or more described "jobsites"; or                                  rebuild, repair or 1replace within 30 days after receipt
        (3) Any combination of "building materials",                              of a duly executt proof of loss.
             "existing building", described "jobsites" or
             coverages described under Coverage                              ADDITIONAL CONDITION
             Extensions or Supplemental Coverages.                           1. Territorial Limi� We cover property while in the
3.   Coinsurance Clause                                                         United states of tmerica and Canada.
     a. When Coinsurance Applies We only pay a                               2. Carriers For Hire You may accept bills of lading or
        part of the loss if the "limit" is less than the co-                    shipping receipts \issued by carriers for hire that limit
        insurance percentage of the estimated value of                          their liability to less than the replacement cost or
        "building materials" and "existing building" at the                     actual cash value\ of the covered property.
        completion of the "rehabilitation or renovation
        project". The applicable coinsurance percen-                         ADDITIONAL COVE�GE LIMITATIONS
        tage is shown in the Declarations.                                   1. Occupancy And pse We do not provide coverage
     b. How We Determine Our Part Of The Loss                                   under this policy if. without our prior written consent,
        Our part of the loss is determined using the fol-                       an "existing buildihg" is:
        lowing steps:                                                           a. Occupied in Whole or in part; or
        (1) Multiply the coinsurance percentage shown                           b. Put to its intended use.
             in the Declarations by the value of "building                      However, this provision does not apply if Permission
             materials" and "existing building" at the com-                     To Occupy is shown in the Declarations.
             pletion of the "rehabilitation or renovation                    2. When Coverage Ceases - Coverage will end when
             project" had no loss occurred;                                     one of the followi�g first occurs:
        (2) Divide the "limit'' for "building materials" and                    a. This policy exP,ires or is canceled;
             "existing building" by the result determined                       b. A covered "re?abilitation or renovation project" is
             in b.(1) above;                                                          accepted by the purchaser;
        (3) Multiply the total amount of loss, after the                        c. Your insurabl� interest in the covered property
             application of any deductible, by the result                             ceases;          \
             determined in b.(2) above.                                         d. You abandon construction, rehabilitation or ren-
        The most we pay is the amount determined in                                   ovation with n� intent to complete it; or
        b.(3) above or the Building Materials Limit,                            e. A covered "rehabilitation or renovation project"
                                                                                                        I
        whichever is less. We do not pay any remaining                                has been completed for more than 90 days.
        part of the loss.                                                                                \
     c. If There Is More Than One Limit If there is                          DEFINITIONS
        more than one Building Materials or Existing                         1. "Building materialsJ' means materials, supplies, at-
        Building Limit shown in the Declarations for this                       tachments and fixtures that:
                                                                                                          1
        coverage part, this procedure applies separately                        a. Will become; o r
        to each "limit".                                                        b. Since the inception date of this policy, have be-
     d. If There Is Only One Limit If there is only one                               come                 \                          .
        "limit" shown in the Declarations for this cover-                       a permanent part o,f the rehabilitation or renovation
        age, this procedure applies to the total of all                         of an "existing buildinq" or an extension of or addi-
        "building materials" or Existing Building to which                      tion to an "existing building".
        the "limit" applies.                                                 2. "Earth movement" lneans:
                                                                                a. The movement! of the ground, soil, sediments,
LOSS PAYMENT                                                                          substrates or strata whether the movement is
Loss Payment Options                                                                . caused by an ab of nature or is manmade,
1. Our Options In the event of loss covered by this                                   including but ndt limited to:
   coverage form, we have the following options:                                      (1) Earthquak� including aftershocks,
   a. Pay the value of the lost or damaged property;                                       liquefa!=tion\ or ground displacement
   b. Pay the cost of repairing or replacing the lost or                                   associated with earthquake;
       damaged property;                                                              (2) Eruption,
                                                                                                !  I
                                                                                                       explosion or effusion of a volcano;
                                                                                                           I




                                                   I                                                       .
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          (3) Shaking or ground rupture before, during or                    4.   "Flood" means. regardless of the cause, an over-
              after volcanic eruption;                                           flowing or inundation by water of an area that was
         (4) Landslide;                                                           previously and normally dry or not covered by water,
         (5) Mine subsidence whether or not the                                  whether caused artificially or naturally, by human or
              manmade mine is currently in use; or                                animal forces or by an act of nature. Regardless of
         (6) Any other ground movement, including                                 the cause, "flood" includes, but is not limited to:
              sinking (other than "sinkhole collapse"),                           a. Overflow of inland or tidal waters, waves, tidal
              shifting, contraction or rising of the ground                             waves or tsunamis, or spray that results from
              including, but not limited to:                                             any of these, all whether driven by wind or not,
              (a) Erosion, expansion shrinking;                                          including but not limited to storm surge;
              (b) Freezing or thawing;                                            b. Unusual and 'rapid accumulation or runoff of sur-
              (c) Soil compaction; and                                                  face waters from any source; or
              (d) Movement caused by water under the                              c. Mudslides or mudflows if caused by:
                   surface of the ground                                                 (1) Unusual and rapid accumulation or runoff of
             that cause cracking, settling, tilting, leaning                                   surface waters or waves; or
              or shifting of covered property.                                           (2) Currents of water exceeding anticipated
    b. The movement of the ground, soil, sediments,                                            cyclical levels.
         substrates or strata resulting from any act, error                  5. "Fungi" means any type or form of fungus, including,
         or omission including but not limited to:                                but not limited to mold, mildew, mycotoxins, spores,
         (1) Construction or excavation activities, regard-                       scents or byproducts produced or released by any
              less of whether or not occurring under cov-                        type or form of fungus.
             ered property and regardless of whether the                     6. "Jobsite" means any location, project or work site
             construction or excavation was being per-                           where you are in the process of renovating or reha-
             formed at your request or for your benefit;                          bilitating a building or structure.
         (2) Blasting or vibration from any source;                          7. "Limit" means the amount of coverage that applies.
         (3) Any process for removing gas; oil; minerals;                    8. "Pollutant" means:
             water; steam; or any other natural resource,                         a. Any solid, liquid, gaseous, thermal or radioactive
             substance or material from below the sur-                                   irritant or contaminant, including acids, alkalis,
             face of the ground including, but not limited                              chemicals, fumes, smoke, soot, vapor and
             to, hydraulic fracturing (tracking), mining,                               waste. Waste includes materials to be recycled,
             drilling or geothermal energy extraction;                                   reclaimed or reconditioned, as well as disposed
         (4) Water injection below the surface of the                                   of; and
             ground, whether wastewater from hydraulic                            b. Electrical or magnetic emissions, whether visible
             fracturing or any other source or water in-                                or invisible, and sound emissions.
             jected into underground rock for the purpose                    9. "Rehabilitation or renovation project" means a pro-
             of creating geothermal energy; or                                   ject, described in the Declarations, involving the con-
         (5) Carbon sequestration, biosequestration or                           struction, rehabilitation or renovation of a structure
             any other process for removing carbon diox-                         or building.
             ide or other forms of carbon from the atmos-                    10. "Sinkhole collapse" means the sudden settlement or
             phere and placed it in an underground reser-                        collapse of earth supporting the covered property
             voir, underground geologic formations or                            into subterranean voids created by the action of
             any other underground storage technique.                            water on a limestone or similar rock formation. It
3. "Existing building" means a structure or building con-                        does not include the value of the land or the cost of
   structed and standing prior to the inception of this                          filling sinkholes.
    policy and that will undergo renovation or rehabilita-                   11. "Specified perils" means aircraft; civil commotion;
   tion as part of your "rehabilitation or renovation pro-                       explosion; falling objects; fire; hail; leakage from fire
   ject":                                                                        extinguishing equipment; lightning; riot; "sinkhole
   An "existing building" includes only those parts of a                         collapse"; smoke; sonic boom; vandalism; vehicles;
   standing structure or a standing building that are in-                        "volcanic action"; water damage; weight of ice, snow
   tended to become a permanent part of the structure                            or sleet; and windstorm.
   or building during and after renovation or rehabilita-                         Falling objects does not include loss to:
   tion.                                                                         a. Personal property in the open; or
   An "existing building" includes foundations, attach-                          b. The interior: of buildings or structures or to per-
    ments, permanent fencing and other permanent fix-                                   sonal property inside buildings or structures un-
   tures.                                                                               less the exterior
                                                                                                       I    ,
                                                                                                              of the roofs or walls are first
                                                                                        damaged by a falling object.


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    Water damage means the sudden or accidental dis- ,                       13. "Volcanic action" means airborne volcanic blast or
    charge or leakage of water or steam as a direct                              airborne shock waves; ash, dust or particulate mat-
    result of breaking or cracking of a part of the system                       ter; or lava flow.
    or appliance containing the water or steam.                                  "Volcanic action" does not include the cost to re-
12. "Terms" means all provisions, limitations, exclu-                            move ash, dust or particulate matter that does not
    sions, conditions and definitions that apply.                                cause direct physical loss to the covered property.



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                                                                                                                           59350 (1-15)



                       CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
                                            AND
                      IMPORTANT INFORMATION REGARDING TERRORISM RISK
                                    INSURANCE COVERAGE

It is agreed:

1. With respect to any one or more certified acts of terrorism, we will not pay any amounts for which we are not respon-
     sible because of the application of any provision 'which results in a cap on our liability for payments for terrorism
     losses in accordance with the terms of the federal Terrorism Risk Insurance Act of 2002 (including ensuing Congres-
     sional actions pursuant to the Act).

2.   Certified act of terrorism means any act certified by the Secretary of the Treasury, in consultation with:

     a. the Secretary of Homeland Security; and
     b. the Attorney General of the United States

     to be an act of terrorism as defined and in accordance with the federal Terrorism Risk Insurance Act of 2002 (includ-
     ing ensuing Congressional actions pursuant to the Act).

3.   Under the federal Terrorism Risk Act of 2002 (including ensuing Congressional actions pursuant to the Act) a terrorist
     act may be certified:

     a.   if the aggregate covered commercial property and casualty insurance losses resulting from the terrorist act ex-
          ceed $5 million; and

     b. (1) if the act of terrorism is:

                a) a violent act; or

                b)    an act that is dangerous to human life, property or infrastructure; and

          (2) if the act is committed:

                a)    by an individual or individuals as part of an effort to coerce the civilian population of the United States; or

                b) to influence the policy or affect the conduct of the United States government by coercion.

All other policy terms and conditions apply.




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                  IMPORTANT INFORMATION REGARDING TERRORISM RISK
                                INSURANCE COVERAGE

The Terrorism Risk Insurance Act of 2002 was signed into law on November 26, 2002. The Act (including ensuing Con-
gressional actions pursuant to the Act) defines an act of terrorism, to mean any act that is certified by the Secretary of the
Treasury, in consultation with the Secretary of Homeland Security and the Attorney General of the United States to be (i)
an act of terrorism; (ii) to be a violent act or an act that is dangerous to human life, property or infrastructure; (iii) to have
resulted in da_mage within the United States or outside the United States in the case of certain air carriers or vessels or
the premises of a United States mission; and (iv) to have been committed by an individual or individuals as part of an ef-
fort to coerce the civilian population of the United States or to influence the policy or affect the conduct of the United
States government by coercion.

Subject to the policy terms and conditions, this policy provides insurance coverage for acts of terrorism as defined in the
Act.

Any coverage for certain commercial lines of property and casualty insurance provided by your policy for losses caused
by certified acts of terrorism are partially paid by the federal government under a formula established by federal law. Un-
der this formula, the government will reimburse us for 85% of such covered losses that exceed the statutory deductible
paid by us. However, l;>eginning January 1, 2016 the share will decrease 1 % per calendar year until it equals 80%. You
should also know that in the event aggregate insured losses exceed $100 billion during any year the Act is in ef-
fect, then the federal government and participating United States insurers that have met their insurer deductible
shall not be liable for the payment of any portion of that amount of the loss that exceeds $100 billion. In the event
that aggregate insured losses exceed $100 billion annually, no additional claims will be paid by the federal gov-
ernment or insurers. This formula is currently effective through December 31, 2020 unless extended.

The premium charge, if any, for this coverage is shown separately on the attached Dedarations page. In the event of a
certified act of terrorism, future policies also may include a government assessed terrorism loss risk-spreading premium in
accordance with the provisions of the Act.

Please contact us if you would like to reject coverage for certified acts of terrorism.




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